Case 1:03-cv-01271-.]DT-tmp Document 34 Filed 05/09/05 Page 1 of 2 Page|D 16

m ms uNmm s'rA'n_-: oisch-coun'r g
son THE wEs'rEnN ols'mic'r oF TENNESSEE @5);, §/
msu-mn mission 05
"Y»Jr 57€
many MELToN,

JOHNNY MELTON and
BLANKENSHIPIMELTON AVIA'I`ION, INC.

VS.

JOHN JEWELL, lndividually,
JOHN JEWELL" AIRCRAF'[`, INC.,
and SHAWN JEWELL DEFENDAN'I`S

 

AGREED ORDER ()F DlSMlSSAL

Whereas the Parties have agreed, by and through their attorney of record, that case styled1
John Edward Jewell, Shawn Edward JewelL and John lowell Aircmfl, Inc., Plaimi.ffs, v.
Blankenship l Melton Aviation, Inc., E¢ Al.. Defendants, previously pending in the United Slates
Distn'ct for the Northem Distn'ct of Mississippi, Western Division, Civi| Aclion No. 3:03~¢:'@’-041-
SSA_, and oonso}idated with this cause by order of U. S. Distn`ct Court lodge Jamcs D. Todd dated
December 9, 2003, should be dismissod; and,

Whewas the Court concurs that dismissal of that portion of this litigation is proper; N()W

THEREFORE, IT IS ORDERED !hat the same be dismissed with each party healing their own costs

44-
orderedihisthe § jay osz/oo$.

 

23 .Q¢-M
Judge

1 5 'T¢MOT

U, S_

Thhdoummmmdmhdodmm m
mhuhsalnd.'or_n(¢)FI-'¢CPM_S{,E| ESS

 

EsiE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01271 Was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listed.

 

John Booth Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. Box 98

Ashland7 MS 38603

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashville, TN 37203

Honorable J ames Todd
US DISTRICT COURT

